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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   ROCK HILL DIVISION


Sly Stallone Aikens,                      )            Civil Action No.
                                          )            0:20-cv-02174-SAL-TER
                                          )
                    Plaintiff,            )
vs.                                       )
                                          )
Cianbro Corporation                       )            Confidentiality Order
                                          )
                                          )
                    Defendant.            )
                                          )
                                          )

       Whereas, the parties to this Consent Confidentiality Order (“parties”), have stipulated that

certain discovery material is and should be treated as confidential, and have agreed to the terms of

this order; accordingly, it is this 5th day of November, 2020, ORDERED:

               1.       Scope. All documents produced in the course of discovery, all responses to

discovery requests and all deposition testimony and deposition exhibits and any other materials

which may be subject to discovery (hereinafter collectively “documents”) shall be subject to this

Order concerning confidential information as set forth below.

       2.      Form and Timing of Designation. Confidential documents shall be so designated

by placing or affixing the word “CONFIDENTIAL” on the document in a manner which will not

interfere with the legibility of the document and which will permit complete removal of the

Confidential designation. Documents shall be designated CONFIDENTIAL prior to, or

contemporaneously with, the production or disclosure of the documents.              Inadvertent or

unintentional production of documents without prior designation as confidential shall not be

deemed a waiver, in whole or in part, of the right to designate documents as confidential as

otherwise allowed by this Order.
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       3.      Documents Which May be Designated Confidential. Any party may designate

documents as confidential but only after review of the documents by an attorney 1 who has, in good

faith, determined that the documents contain information protected from disclosure by statute,

sensitive personal information, trade secrets, or confidential research, development, or commercial

information. The certification shall be made concurrently with the disclosure of the documents,

using the form attached hereto at Attachment A which shall be executed subject to the standards

of Rule 11 of the Federal Rules of Civil Procedure. Information or documents which are available

in the public sector may not be designated as confidential.

       4.      Depositions.     Portions of depositions shall be deemed confidential only if

designated as such when the deposition is taken or within seven business days after receipt of the

transcript. Such designation shall be specific as to the portions to be protected.

       5.      Protection of Confidential Material.

       a.      General Protections. Documents designated CONFIDENTIAL under this Order

       shall not be used or disclosed by the parties or counsel for the parties or any other persons

       identified below (¶ 5.b.) for any purposes whatsoever other than preparing for and

       conducting the litigation in which the documents were disclosed (including any appeal of

       that litigation). The parties shall not disclose documents designated as confidential to

       putative class members not named as plaintiffs in putative class litigation unless and until

       one or more classes have been certified.




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  The attorney who reviews the documents and certifies them to be CONFIDENTIAL must be
admitted to the Bar of at least one state but need not be admitted to practice in the District of South
Carolina and need not apply for pro hac vice admission. By signing the certification, counsel
submits to the jurisdiction of this court in regard to the certification.

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      b.     Limited Third Party Disclosures. The parties and counsel for the parties shall

      not disclose or permit the disclosure of any documents designated CONFIDENTIAL under

      the terms of this Order to any other person or entity except as set forth in subparagraphs

      (1)-(5) below, and then only after the person to whom disclosure is to be made has been

      made aware of his or her obligations to use discovery materials designated

      CONFIDENTIAL solely for the purposes of the above-captioned action, and not to disclose

      any such confidential information to any other person, entity, or firm. Subject to these

      requirements, the following categories of persons may be allowed to review documents

      which have been designated CONFIDENTIAL pursuant to this Order:

             (1)     counsel and employees of counsel for the parties who have responsibility

             for the preparation and trial of the lawsuit;

             (2)     parties and employees of a party to this Order but only to the extent counsel

             shall certify that the specifically named individual party or employee’s assistance

             is necessary to the conduct of the litigation in which the information is disclosed 2;

             (3)     court reporters engaged for depositions and those persons, if any,

             specifically engaged for the limited purpose of making photocopies of documents;

             (4)     consultants, investigators, or experts (hereinafter referred to collectively as

             “experts”) employed by the parties or counsel for the parties to assist in the

             preparation and trial of the lawsuit; and

             (5)     other persons only upon consent of the producing party or upon order of the

             court and on such conditions as are agreed to or ordered.




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        c.       Control of Documents. Counsel for the parties shall take reasonable efforts to

        prevent unauthorized disclosure of documents designated as Confidential pursuant to the

        terms of this order. Counsel shall maintain a record of those persons, including employees

        of counsel, who have reviewed or been given access to the documents along with the

        originals of the forms signed by those persons acknowledging their obligations under this

        Order.

        d.       Copies. All copies, duplicates, extracts, summaries or descriptions (hereinafter

        referred to collectively as “copies”), of documents designated as Confidential under this

        Order or any portion of such a document, shall be immediately affixed with the designation

        “CONFIDENTIAL” if the word does not already appear on the copy. All such copies shall

        be afforded the full protection of this Order.

        6.       Filing of Confidential Materials. In the event a party seeks to file any material

that is subject to protection under this Order with the court, that party shall take appropriate action

to insure that the documents receive proper protection from public disclosure including: (1) filing

a redacted document with the consent of the party who designated the document as confidential;

(2) where appropriate (e.g. in relation to discovery and evidentiary motions), submitting the

documents solely for in camera review; or (3) where the preceding measures are not adequate,

seeking permission to file the document under seal pursuant to the procedural steps set forth in

Local Civil Rule 5.03, DSC, or such other rule or procedure as may apply in the relevant

jurisdiction.    Absent extraordinary circumstances making prior consultation impractical or

inappropriate, the party seeking to submit the document to the court shall first consult with counsel

for the party who designated the document as confidential to determine if some measure less

restrictive than filing the document under seal may serve to provide adequate protection. This

duty exists irrespective of the duty to consult on the underlying motion. Nothing in this Order
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shall be construed as a prior directive to the Clerk of Court to allow any document be filed under

seal. The parties understand that documents may be filed under seal only with the permission of

the court after proper motion pursuant to Local Civil Rule 5.03.

       7.      Greater Protection of Specific Documents. No party may withhold information

from discovery on the ground that it requires protection greater than that afforded by this Order

unless the party moves for an Order providing such special protection.

       8.      Challenges to Designation as Confidential. Any CONFIDENTIAL designation

is subject to challenge.   The following procedures shall apply to any such challenge.

       a.      The burden of proving the necessity of a Confidential designation remains with the

       party asserting confidentiality.

       b.      A party who contends that documents designated CONFIDENTIAL are not entitled

       to confidential treatment shall give written notice to the party who affixed the designation

       of the specific basis for the challenge. The party who so designated the documents shall

       have fifteen (15) days from service of the written notice to determine if the dispute can be

       resolved without judicial intervention and, if not, to move for an Order confirming the

       Confidential designation.

       c.      Notwithstanding any challenge to the designation of documents as confidential, all

       material previously designated CONFIDENTIAL shall continue to be treated as subject to

       the full protections of this Order until one of the following occurs:

               (1)     the party who claims that the documents are confidential withdraws such

               designation in writing;

               (2)     the party who claims that the documents are confidential fails to move

               timely for an Order designating the documents as confidential as set forth in

               paragraph 8.b. above; or
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             (3)     the court rules that the documents should no longer be designated as

             confidential information.

      d.     Challenges to the confidentiality of documents may be made at any time and are

      not waived by the failure to raise the challenge at the time of initial disclosure or

      designation.

      9.     Treatment on Conclusion of Litigation.

      a.     Order Remains in Effect. All provisions of this Order restricting the use of

      documents designated CONFIDENTIAL shall continue to be binding after the conclusion

      of the litigation unless otherwise agreed or ordered.

      b.     Return of CONFIDENTIAL Documents. Within thirty (30) days after the

      conclusion of the litigation, including conclusion of any appeal, all documents treated as

      confidential under this Order, including copies as defined above (¶5.d.) shall be returned

      to the producing party if so requested by the producing party unless: (1) the document has

      been entered as evidence or filed (unless introduced or filed under seal); (2) the parties

      stipulate to destruction in lieu of return; or (3) as to documents containing the notations,

      summations, or other mental impressions of the receiving party, that party elects

      destruction. Notwithstanding the above requirements to return or destroy documents,

      counsel may retain attorney work product including an index which refers or relates to

      information designated CONFIDENTIAL so long as that work product does not duplicate

      verbatim substantial portions of the text of confidential documents. This work product

      continues to be Confidential under the terms of this Order. An attorney may use his or her

      work product in a subsequent litigation provided that its use does not disclose the

      confidential documents.



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       10.     Order Subject to Modification. This Order shall be subject to modification on

motion of any party or any other person who may show an adequate interest in the matter to

intervene for purposes of addressing the scope and terms of this Order. The Order shall not,

however, be modified until the parties shall have been given notice and an opportunity to be heard

on the proposed modification.

       11.     No Judicial Determination. This Order is entered based on the representations

and agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall

be construed or presented as a judicial determination that any specific document or item of

information designated as CONFIDENTIAL by counsel is subject to protection under Rule 26(c)

of the Federal Rules of Civil Procedure or otherwise until such time as a document-specific ruling

shall have been made.

       12.     Persons Bound. This Order shall take effect when entered and shall be binding

upon: (1) counsel who signed below and their respective law firms; and (2) their respective clients.



IT IS SO ORDERED.

                                                     s/Thomas E. Rogers, III
                                                     UNITED STATES MAGISTRATE JUDGE

November 5, 2020
Florence, South Carolina




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                                 ATTACHMENT A
                    CERTIFICATION BY COUNSEL OF DESIGNATION
                        OF INFORMATION AS CONFIDENTIAL

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 ROCK HILL DIVISION

Sly Stallone Aikens                           )       Civil Action No.
                                              )       0:20-cv-02174-SAL-TER
                                              )
       Plaintiff,                             )
                                              )       Certification by Counsel of Designation
vs.                                           )         of Information as Confidential
                                              )
Cianbro Corporation,                          )
                                              )
       Defendant                              )
                                              )

       Documents produced herewith [whose bates numbers are listed below (or) which are
listed on the attached index] have been marked as CONFIDENTIAL subject to the
Confidentiality Order entered in this action which Order is dated [confidentiality order date].

       By signing below, I am certifying that I have personally reviewed the marked documents
and believe, based on that review, that they are properly subject to protection under the terms of
Paragraph 3 of the Confidentiality Order.

       Check and complete one of the two options below.

       ❑       I am a member of the Bar of the United States District Court for the District of
               South Carolina. My District Court Bar number is [District Court Bar #].

       ❑       I am not a member of the Bar of the United States District Court for the District of
               South Carolina but am admitted to the bar of one or more states. The state in which
               I conduct the majority of my practice is [state in which I practice most] where my
               Bar number is [that state's Bar #]. I understand that by completing this certification
               I am submitting to the jurisdiction of the United States District Court for the District
               of South Carolina as to any matter relating to this certification.

Date: [date attachment A signed]                              [Signature of Counsel [s/name]]
                                                              Signature of Counsel

                                                              [Printed Name of Counsel [A]]
                                                              Printed Name of Counsel


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                                       ATTACHMENT C

                        CERTIFICATION OF COUNSEL OF NEED
                        FOR ASSISTANCE OF PARTY/EMPLOYEE

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 ROCK HILL DIVISION



Sly Stallone Aikens                 )                          Civil Action No.
                                    )                       0:20-cv-02174-SAL-TER
                                    )
       Plaintiff,                   )                      Certification of Counsel
                                    )                of Need for Assistance of Party/Employee
vs.                                 )
                                    )
Cianbro Corporation,                )
                                    )
       Defendant                    )
                                    )
___________________________________ )

       Pursuant to the Confidentiality Order entered in this action, most particularly the
provisions of Paragraph 5.b.2., I certify that the assistance of [name of assistant [att C]] is
reasonably necessary to the conduct of this litigation and that this assistance requires the
disclosure to this individual of information which has been designated as CONFIDENTIAL.

         I have explained the terms of the Confidentiality Order to the individual named above
and will obtain his or her signature on an “Acknowledgment of Understanding and Agreement to
be Bound” prior to releasing any confidential documents to the named individual and I will
release only such confidential documents as are reasonably necessary to the conduct of the
litigation.

       The individual named above is:

       ❑       A named party;

       ❑       An employee of named party [employee of named party]. This employee’s job
               title is [employee's job title] and work address is [employee's work address].


Date: [date attachment C signed]                            [Signature [attachment C]]
                                                             Signature



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